Case 2:25-cv-03081-KSM Documenti-2 Filed 06/17/25 Pagelof1
Generated: Jun 17, 2025 2:37PM Page 1/1
U.S. District Court
Pennsylvania Eastern - Philadelphia

Receipt Date: Jun 17, 2025 2:37PM.
Naeemah Clemens ce

Rept. No: 20030147 oe “Trans, Date: jun 17,2025 2:37PM a | Cashier ID: #57 (2383)
cD Purpose . Case/Party/Defandant . a oty . Price . “Amt
200 Culling Fee- Non-Prisoner vm ° Seemann et veetuee sone wisn bteaees oso
cD Tender . , oS nr wo Amt
CC CreditCard a JOE s wo $405.00 -
. 7 “roa pus Prt comment ceeeeeeteeeaees eee
ay ° _ ta Tender Sree tener
“Total Cash Received: Oe a $0.00

“Comments: Naeemah Clemens, New Case

Only when the bank clears the check, money order, or verifies credit of funds, is the fee or debt offically pad or discharged, A $53 fee a
will be charged fora returned check. oak Doe! noe Py

